
445 F.Supp.2d 725 (2006)
KONAMI CORPORATION, a Japanese corporation, Plaintiff and Counter-Defendant
v.
ROXOR GAMES, INC., a Texas corporation, and
Mad Catz, Inc., a California corporation, and
Redoctane, a California corporation, Defendants and Counter-Plaintiffs.
Civil Action No. 2:05cv173.
United States District Court, E.D. Texas, Marshall Division.
August 7, 2006.
*726 *727 John G. Flaim, Brian Charles McCormack, Baker &amp; McKenzie, Dallas, TX, Allen Franklin Gardner, John Frederick Bufe, Michael Edwin Jones, Potter Minton PC, Tyler, TX, for Plaintiff and Counter-Defendant.
Marvin Craig Tyler, Brian Alden Dietzel, David John Palmer, Nicole W. Stafford, Wilson Sonsini Goodrich &amp; Rosati, Austin, TX, Gerald C. Conley, Tonya Michelle Gray, Andrews &amp; Kurth, Dallas, TX, Whitney E. Peterson, Mad Catz Inc., San Deigo, CA, Jeffrey Kenton Lee, Kimberly A. Donovan, GCA Law Partners LLP, Mountain View, CA, for Defendants and Counter-Plaintiffs.

MEMORANDUM OPINION AND ORDER
LOVE, United States Magistrate Judge.
This claim construction Opinion construes terms in U.S. Patent No. 6,410,835 ("the '835 patent"). Konami Corp. ("Konami") alleges Defendants Roxor Games, *728 Inc. ("Roxor"), Mad Catz, Inc.("MadCatz"), and Redoctane ("RedOctane") (collectively "Defendants"), infringe the '835 patent.

The Patent
The '835 patent describes a dance game apparatus with a step-on base. The invention produces video and audio signals that cue the user to apply foot pressure onto the step-on base. The step-on base is composed of marked steps which correspond to the visual cues represented on the video output. ,The object of the game is to apply pressure on the correct step at the exact time the invention cues the user, which if accomplished in succession, creates the sense and appearance of dancing. Depending on the user's accuracy and timing, the invention will score the user accordingly.

Applicable Law
"It is a `bedrock principle' of patent law that `the claims of a patent define the invention to which the patentee is entitled the right to exclude.'" Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed.Cir.2004)). In claim construction, courts examine the patent's intrinsic evidence to define the patented invention's scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 861 (Fed.Cir.2004); Bell Atl. Network Servs., Inc. v. Covad Communications Group, Inc., 262 F.3d 1258, 1267 (Fed.Cir. 2001). This intrinsic evidence includes the claims themselves, the specification, and the prosecution history. See Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at 861. Courts give claim terms their ordinary and accustomed meaning as understood by one of ordinary skill in the art at the time of the invention in the context of the entire patent. Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int'l Trade Comm'n, 342 F.3d 1361, 1368 (Fed.Cir. 2003).
The claims themselves provide substantial guidance in determining the meaning of particular claim terms. Phillips, 415 F.3d at 1314. First, a term's context in the asserted claim can be very instructive. Id. Other asserted or unasserted claims can also aid in determining the claim's meaning because claim terms are typically used consistently throughout the patent. Id. Differences among the claim terms can also assist in understanding a term's meaning. Id. For example, when a dependent claim adds a limitation to an independent claim, it is presumed that the independent claim does not include the limitation. Id. at 1314-15.
Claims "must be read in view of the specification, of which they are a part." Id. (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 978 (Fed.Cir. 1995)). "[T]he specification `is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.'" Id. (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.Cir.1996)); Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed.Cir.2002). This is true because a patentee may define his own terms, give a claim term a different meaning than the term would otherwise possess, or disclaim or disavow the claim scope. Phillips, 415 F.3d at 1316. In these situations, the inventor's lexicography governs. Id. Also, the specification may resolve ambiguous claim terms "where the ordinary and accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of the claim to be ascertained from the words alone." Teleflex, Inc., 299 F.3d at 1325. But, "although the specification may aid the court in interpreting the meaning of disputed claim language, particular *729 embodiments and examples appearing in the specification will not generally be read into the claims." Comark CommunicatiQns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed.Cir.1998); see also Phillips, 415 F.3d at 1323. The prosecution history is another tool to supply the proper context for claim construction because a patent applicant may also define a term in prosecuting the patent. Home Diagnostics, Inc., v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed.Cir.2004) ("As in the case of the specification, a patent applicant may define a term in prosecuting a patent.").
Although extrinsic evidence can be useful, it is "less significant than the intrinsic record in determining the legally operative meaning of claim language.'" Phillips, 415 F.3d at 1317 (quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court understand the underlying technology and the manner in which one skilled in the art might use claim terms, but technical dictionaries and treatises may provide definitions that are too broad or may not be indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony may aid a court in understanding the underlying technology and determining the particular meaning of a term in the pertinent field, but an expert's conclusory, unsupported assertions as to a term's definition is entirely unhelpful to a court. Id. Generally, extrinsic evidence is "less reliable than the patent and its prosecution history in determining how to read claim terms." Id.

The Terms
Eleven terms were set to be heard on June 1, 2006, but before the hearing, the parties agreed on the construction of "moving said person's feet in rhythmic with said rhythmic piece"[1] and "recognizable with."[2] Of the nine remaining claims six are disputed on traditional construction grounds: "dance apparatus," "output device for outputting a rhythmic piece," "recognizable relationship," "matching relationship," "relative movement," and "scrolling;" and three are disputed for indefiniteness: "effective mating, mating, mates," "respective parallel loci," "said correspondence between said first and second display parts." The Court will begin by addressing the first group.
Dance Apparatus
"Dance apparatus" appears in the preambles of claims 11-26, 46, and 47. Konami argues that "dance apparatus" should not be construed because it is not a claim limitation, but Defendants contend that "dance apparatus" should be construed as "a self-contained piece of equipment, comprising certain components, for directing and monitoring movement." The Court finds that this term does not limit the claims and should not be construed.
There is no "litmus test" for determining whether preamble language is limiting. Bicon, Inc. v. Straumann Co., 441 F.3d 945, 952 (Fed.Cir.2006). Instead, whether a preamble should be treated as a claim limitation depends on "the facts of each case in light of the claim as a whole and the invention described in the patent." Storage Tech. Corp. v. Cisco Sys., 329 F.3d 823, 831 (Fed.Cir.2003). If the body of the claim "sets out the complete invention," the preamble is not ordinarily treated as limiting the scope of the claim. Bicon, 441 F.3d at 952. However, a preamble limits a claimed invention if it "recites essential structure or steps, or if it is necessary to give life, meaning, and vitality to the *730 claim." NTP, Inc. v. Research in Motion, Ltd., 418 F.3d 1282, 1305-06 (Fed.Cir. 2005), cert. denied, ___ U.S. ___, 126 S.Ct. 1174, 163 L.E d.2d 1141 (2006). A preamble may also be limiting if it provides antecedent basis for the claim terms that follow. C.R. Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1350 (Fed.Cir.1998). However, if the preamble adds no limitations to those in the body of the claim, the preamble is not itself a claim limitation and is irrelevant to proper construction of the claim. See Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed.Cir.1999).
As noted above, preamble language is not normally limiting, therefore, when a Court is asked to construe preamble language it must undertake a two-step analysis. First, the Court must determine whether the preamble language limits the claims. Id. If the Court finds the preamble language to be limiting, then a traditional construction analysis may be appropriately undertaken. Here, Defendants seem to put the cart before the horse by offering a construction of "dance apparatus" without first establishing that "dance apparatus" is a proper subject for construction because it limits the claims. Although the Court finds Defendants' construction inappropriate in light of the specification and claims, as a threshold matter, the Court also finds that "dance apparatus" is not a claim limitation and is not the proper subject of construction. The Court will address Defendants' arguments first.
Defendants argue that "the patentee has consistently and clearly used the term `apparatus' throughout the '835 patent specification in a more limiting way than its general usage, which effectively limits the scope of the term in the claims." Defendants' Responsive Claim Construction Brief, p. 5 citing ResQNet.com, Inc. v. Lansa, Inc., 346 F.3d 1374, 1378 (Fed.Cir. 2003). Defendants cite Re s QNet. com for the well-established proposition that a patentee may expand or limit the scope of a term in the context of the patent claims by clearly using that term in a manner that is more or less expansive than its general use. Id. citing Middleton, Inc., v. Minn, Mining &amp; Mfg. Co., 311 F.3d 1384, 1388 (Fed.Cir.2002). While that rule may be helpful in determining the scope of claim language that is the proper subject of construction, it is not helpful in determining whether preamble language such as "dance apparatus" is a claim limitation such that construing that term would be appropriate.
The thrust of Defendants' position is that the "apparatus" contemplated in the specification is a unitary or "self-contained" apparatus, and that this unitary structure was at the heart of the invention. Defendants' Responsive Claim Construction Brief, p. 5 citing Transclean Corp. v. Bridgewood Servs., Inc., 290 F.3d 1364, 1371 (Fed.Cir.2002) (Upholding district court's construction of a term based on purpose of the invention and disputed term's use within the specification.). Once again, Defendants argue in support of their construction of "dance apparatus" before establishing that "dance apparatus" need be construed at all. As was the case in ResQNet.com, the Court in Transclean was tasked with construing claim language; it was not as this Court is, faced with the dual task of deciding whether certain preamble language should be read into the claim, and if so, the proper construction of that language. Although Defendants do not misstate the law in ResQN et. com and Transclean, their reliance on these cases illustrates that they are prematurely arguing for a construction of "dance apparatus" before it has been established *731 that "dance apparatus" is a claim limitation justifying construction.
To address the issue of whether "dance apparatus" limits the claims, the Court will begin with the language of the claims themselves. Reviewing the role of "dance apparatus" within the claim language reveals that it does not provide essential structure or antecedent basis to the associated claim language. Claim 11 is fairly representative and provides,
Dance apparatus for us by a player comprising:
an output device for outputting a rhythmic piece;
a plurality of actuateable parts for actuation by a player's feed;
a display unit displaying first and second display parts, said first display parts having a recognizable relationship with corresponding actuateable parts;
a guidance unit effecting display of relative movement between said first and second display parts;
said guidance unit including a control section for controlling said relative movement to display a matching relationship between said first and second display parts in timed relationship with said rhythmic piece to thereby direct the player in to actuate said actuateable parts with the player's feet in timed relationship with the displaced matching relationship between the first and second display parts and thereby in timed relationship with said rhythmic piece such that the player is thereby directed to dance in rhythm with said rhythmic piece.
The body of the claims set forth a complete invention, and it is clear that the claim drafter did not choose "to use both the preamble and the body to define the subject matter of the claimed invention." Bell Commc'ns Research, Inc. v. Vitalink Commc'ns Corp., 55 F.3d 615, 620 (Fed. Cir.1995) (emphasis in original). Indeed, the term "dance apparatus" could be replaced with the more conventional "apparatus" without affecting the scope or meaning of the claims. Here, as in IMS Technology, Inc. v. Haas Automation, Inc., 206 F.3d 1422 (Fed.Cir.2000), the "preamble merely gives a descriptive name to the set of limitations in the body of the claim that completely set forth the invention." Therefore, the Court cannot find that "dance apparatus" should be read as limiting. However, even if "dance apparatus" were a claim limitation the Court would still not adopt Defendants' construction because it improperly imports limitations from the preferred embodiment, and rests on the misapprehension that the purpose and novelty underlying the '835 patent was a unitary or "self-contained" structure.
The written specification describes the constituent parts of the claimed apparatus, but it never requires that those constituent parts be compiled into a "self-contained piece of equipment." Although Figure 2, which Defendants rely heavily upon, shows a unitary or "self-contained" apparatus, that illustration reflects an embodiment of the invention set forth in the claims. However, the claims, like the written portion of the specification, set forth the constituent parts of the invention without requiring that all of the parts be combined in a unitary structure. Accordingly, even if "dance apparatus" were limiting the Court would not adopt Defendants' construction.
Output Device for Outputting a Rhythmic Piece
This phrase is found in claims 11, 18, 27, and 46. The parties agree that "output device" is "an apparatus for signaling an output," and that "rhythmic piece" is "a work that includes a sound pattern or beat." Defendant MadCatz, however, proposes *732 that the entire phrase should be construed to mean "loud speaker" because the only device that can output "a sound pattern or beat" is a loud speaker. However, the Court sees no reason to construe this language because an appropriate understanding of the phrase may be reached from the ordinary meaning of the claim language in conjunction with the agreed constructions of "output device" and "rhythmic piece." Further, if Court were to construe the phrase it would not adopt MadCatz construction because it seeks to improperly import limitations into the claims from the specification.
"We begin our claim construction analysis, as always, with the words of the claim." Teleflex, 299 F.3d at 1324. The ordinary meaning of this claim language embraces the purpose of the output device, indicating that its function is to output a "rhythmic piece." Thus, the claim language does not specify the type of "output device" contemplated, rather, it simply requires that the claimed "output device" be capable of "outputting a rhythmic piece." CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed.Cir.2002) ("The terms used in the claims bear a presumption that they mean what they say and have the ordinary meaning that would be attributed to those words by persons skilled in the relevant art."). In light of the assistance provided by the agreed constructions of "output device" and "rhythmic piece," a juror could arrive at a proper understanding of this phrase without need to resort to MadCatz's construction. Further, even assuming the plain and ordinary meaning of this claim language were insufficient to understand what is claimed, the Court would nonetheless decline to adopt MadCatz's construction because it improperly limits the meaning of this phrase.
MadCatz contends that a "rhythmic piece," is necessarily an auditory piece, in turn necessitating that the "output device" be a "loud speaker." In support, MadCatz points to specification excerpts referring specifically to "speakers," as well as Figure 2, which depicts speakers as a part of the claimed apparatus. 3:18-19; 3:32; 4:9-11; 7:27, 55; 9:54; 12:54. However, all of these excerpts appear in the preferred embodiment and cannot overcome the presumption that the claims' more general meaning should control. CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d at 1366. Konami also points out that the parties agreed to construe "rhythmic piece" to mean "a work that includes a sound pattern or beat" and they go on to argue that a "beat," can include tactile or light signals, which do not require a "loud speaker" for output.[3] The Court agrees with Konami that "rhythmic piece" should not be so narrowly construed. Accordingly, the Court will not construe "output device for outputting a rhythmic piece," and additionally finds MadCatz proposed construction to be inappropriate.
Recognizable Relationship
Konami proposes that "recognizable relationship" should be construed as "having a correspondence such that one can be identified with another," while Defendants argue that "visually apparent association" is more appropriate. However, neither proposal offers any more guidance than the ordinary and accustomed meaning of the claim language itself. As that ordinary meaning is consistent with a proper understanding of "recognizable relationship" the Court sees no reason to construe this term.
"Recognizable relationship" is employed in Claim 11 to describe the relationship between the "first display parts" and the *733 "corresponding actuateable parts,[4] and in Claim 12 to describe the relationship between "first display parts" and "second display parts."[5] 19:48-50, 65-67.[6] Although neither proffered construction is inappropriate or misleading, neither construction would assist a jury in adducing the meaning of this phrase. See Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356, 1366 (Fed.Cir.2004). Both parties offer constructions that merely re-characterize the claim language without adding any helpful guidance about the meaning of "recognizable relationship" that is not already apparent from the language itself.
In essence, Defendants' construction "visually apparent association" substitutes "visually apparent" for "recognizable" and "association" for "relationship." However, "visually apparent" does not advance the meaning of "recognizable" beyond its ordinary and accustomed meaning, and "association" does not measurably clarify "relationship." Similarly, Konami's construction "having a correspondence such that one can be identified with another" simply restates the ordinary understanding of "recognizable relationship." These constructions are not incorrect. In fact, they are both fairly accurate characterizations of the disputed term, but the Court declines to adopt any construction because a proper understanding of this term may be reached from the ordinary and accustomed meaning of these terms in the context of the claims. Accordingly, the Court elects not to construe "recognizable relationship."
Matching Relationship
Konami proposes that "matching relationship" should be construed as "having a correspondence when one overlaps another," whereas Defendants argue that the construction should be "a corresponding relationship." The main dispute between the parties involves Konami's inclusion of "overlap" in its construction, which Defendants characterize as an impermissible attempt to import a limitation from the specification. Although the Court agrees with Defendants that Konami's construction is inappropriate, in the end, the Court also declines to adopt Defendants' proposed construction, finding instead that no construction is needed. First, the Court will address Konami's proposed construction.[7]
Whereas the essence of "recognizable relationship" was in describing the relationship between "first display parts" and "second display parts" as well as between "first display parts" and "corresponding actuatable display parts," the essence of "matching relationship" rests in describing how a player is prompted to "actuate said actuatable parts" such that the player is *734 directed to "dance." Claim 11 offers a fair representation of this term's use throughout the patent, and provides in relevant part:[8]
said guidance unit including a control section for controlling said relative movement to display a matching relationship between said first and second display parts in timed relationship with said rhythmic piece to thereby direct the player to actuate said actuateable parts with the player's feet in timed relationship with the displayed matching relationship between the first and second display parts and thereby in timed relationship with said rhythmic piece such that the player is thereby directed to dance in rhythm with said rhythmic piece (emphasis added).
The "matching relationship between said first and second display parts" prompts the player to "actuate" the "actuatable parts." Further, the "matching relationship" and the "rhythmic piece" are in a "timed relationship." Thus, a player properly actuating the actuatuatable parts will "dance," in time with the "rhythmic piece," which seems to be at the heart of the game, and certainly of claim 11. A plain reading of the claims would lead to that understanding of "matching relationship," which is properly focused on the interplay between the "first and second display parts," the "rhythmic piece," and the player actuating the "actuatable parts," that provide cues in such a way that the player is "directed to dance."
Konami seeks to further limit this term, arguing that the specification teaches that this "matching relationship" specifically occurs when "the scrolled mark M completely overlaps (matches) the still mark S [which] guides a stepping operation timing (emphasis added)." 8:55-57. However, this excerpt comes from the preferred embodiment and the Court is reluctant to import such a limitation, especially where the claims adequately describe "matching relationship" in the broader sense set forth above. See Rexnord Corp. v. Laitram Corp., 274 F.3d 1336, 1342 (Fed.Cir.2001) ("Unless compelled to do otherwise, a court will give a claim term the full range of its ordinary meaning as understood by an artisan of ordinary skill."). Further, even if it were appropriate to look beyond the claims to the specification, the Court would still elect not to adopt Konami's construction because "overlaps" is not well supported by the specification.
Konami offers the specification excerpt including "completely overlaps (matches)" to support its construction which includes the significantly more ambiguous "overlaps."[9] The next sentence emphasizes that "completely overlaps," not merely "overlaps," was contemplated, as it reads "[a]t the timing at which the mark M completely overlaps the still mark S, the display luminance or the display color of the still mark S is temporarily changed, showing the matching of timing (emphasis added)." 8:57-60. To the extent that the specification supports the notion that a "matching relationship" necessarily implies "overlap," it would seem to support a "complete overlap" rather than the more general "overlaps" that appears in Konami's proposed construction. Therefore, the Court cannot *735 find that the specification supports Konami's proposed construction.
As stated before, however, the Court finds that no construction is necessary because a proper understanding of "matching relationship" may be reached from a plain reading of the term in context of the surrounding claim language.
Relative Movement
Konami argues that "relative movement" should be construed as "continuous movement of one thing with reference to another." Defendants Roxor and Redoctane contend that the term requires no construction, and Defendant MadCatz proposes that if the Court decides to construe the term, it should mean "movement of one thing with reference to another." In addition to whether "relative movement" should be construed at all, the parties disagree about the propriety of Konami's requirement that the movement be "continuous." The Court finds that the term requires no construction because the patentee used the term in accordance with its ordinary accustomed meaning, and additionally finds that Konami's "continuous" limitation lacks support as applied to "relative movement."[10]
"Relative movement" is generally found in the following context:[11]
a guidance unit effecting display of relative movement between said first and second display parts;
said guidance unit including a control section for controlling said relative movement to display a matching relationship between said first and second display parts in timed relationship with said rhythmic piece to thereby direct the player to actuate said actuateable parts (emphasis added).
This claim language suggests that the patentee used the term "relative movement" in accordance with its normal and accustomed meaning, which encompasses all types of movement including "continuous" and "non-continuous" movement. Rexnord Corp., 274 F.3d at 1342. However, Konami argues that the specification teaches that the display parts are, in fact, a series of discrete stationary images rapidly displayed to create the illusion of continuous movement. In support, Konami points to a part of the preferred embodiment describing the allocation of memory that loads the display parts "without interruption." See 8:26-29. The Court finds this excerpt is insufficient to overcome the presumption that "relative movement" should carry a broader meaning, which is in accord with its ordinary and accustomed meaning. CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d at 1366.
Konami's proffered support is a one-line description of the process by which display parts appear on the screen in a preferred embodiment. However, the surrounding language indicates that the references to "continuous" movement or movement "without interruption," applies more directly to the concept of "scrolling" than to "relative movement." The surrounding language reads:
A scroll display control section 110 is used to perform scroll display on the display surface of the monitor 3. The stepping position indication data for one *736 set of data, which is set by the rhythm setting section 107, read from the stepping position indication data memory 105, is replaced with image data (hereinafter referred to as "stepping position indication marks") and is temporarily input to, a mark memory 111. In this mark memory 111, an amount of two sets of data which are continuous so that the images of the stepping position indication marks are always displayed without interruption on the display surface 31 of the monitor 3 in scroll display is written. The scroll display control section 110 causes a stepping position indication marks from the mark memory 111 to be written as scroll images into a display memory 3a in such a manner that the reading addresses are shifted sequentially at predetermined time intervals. In this manner, in addition to dance images which are not scrolled, stepping indication marks which are scrolled are also transferred in sequence to the display memory 3a, and furthermore, the contents of the display memory 3a are repeatedly read and displayed in known display scanning means at a cycle, such as 1/60 seconds, and on the display surface 31, the stepping position indication mark is scrolled and displayed on the display surface 31 and the dance image is displayed in a moving-picture manner as a background image (emphasis added). 8:19-44.
The emphasis on "scrolling," which appears in dependent claim 32 as a particular sub-category of "relative movement," indicates that this excerpt describes a preferred embodiment including "scrolling" but the more general concept of "relative movement" is not implicated.
As noted above, the patentee used "relative movement" in its normal and accustomed meaning, which includes both "continuous" and "non-continuous" movement. The claims do not suggest that any particular type of movement was contemplated, and although Konami argues that the specification teaches a particular type of movement, that guidance is not particularly strong or clear as to "relative movement" and seems to read more directly on "scrolling." Therefore, the Court finds that this term's ordinary and accustomed meaning controls, and no construction is necessary.
Scrolling
"Scrolling" appears in dependant claim 32, and variations of the word "scroll" are found throughout the specification describing a particular type of movement in the preferred embodiment. See 8:19-44 supra. The parties agree that "scrolling" means, "moving viewable elements from a first displayed location to a second displayed location," but the parties disagree about how to characterize the movement between the first and second displayed location. Defendants argue for, "moving viewable element from a first displayed location to a second displayed location in a manner reflecting the path traveled (emphasis added)," while Konami argues for "moving viewable element from a first displayed location to a second displayed location in a continuous manner (emphasis added)." The Court finds that "scrolling" implies "continuous" motion.
"Scrolling" appears in dependent claim 32, which reads, "[a] method according to claim 28 wherein said step of displaying said second display parts comprises scrolling said second display parts." Claim 28 states that there is "relative movement" between matching "first and second display parts," and claim 32 narrows claim 28 by stating that the "second display part" is "scrolling." Unlike the more general "relative movement" appearing in independent claim 28, the term "scrolling" describes movement that is "continuous." First, "scrolling" is generally understood to *737 mean the movement of text or graphics on a display similar to an unrolling scroll, which implies continuous motion. Generally, the movement can be in any direction, but the necessary implication is that the movement is "continuous." Second, the above quoted specification excerpt, when read in conjunction with claims 28 and 32, supports the notion that scrolling is a narrower type of relative movement that necessarily implies continuity. Thus, the Court adopts Konami's construction.
Alleged Indefinite Terms
Defendants allege that "effective mating, mating, and mates," "the respective parallel loci," and "said correspondence between said first and second display parts" are invalid by reason of indefiniteness under to 35 U.S.C. § 112 ¶ 2. Paragraph 2 provides, "the specification shall conclude with one or more claims particularly pointing out and distinctly claiming the subject matter which the applicant regards as his invention." A claim that fails this test is indefinite and invalid, which only occurs where the claim is not "amenable to construction." Exxon Research &amp; Eng'g Co. v. United States, 265 F.3d 1371, 1375 (Fed.Cir.2001). Because a claim is presumed valid, a claim is indefinite only if the "claim is insolubly ambiguous." Id.
The Court agrees with Konami that these claim terms are not indefinite, and adopts the following constructions.
Effective Mating, Mating, Mates
On May 3, 2001, the Patent and Trademark Office (the "PTO") rejected patentee's application because of a lack of clarity concerning the meaning of "displaying a mating relationship." See Office Action, 5/3/01, p. 2. In arguing for reconsideration, patentee equated "mating" with "matching" as that term is used in the specification at 8:52-60. Response to Office Action 11/5/01, p. 24. Patentee did not, as Defendants argue, disclaim the claim scope occupied by "mating" thereby rendering claims containing "mating" invalid. Rather, patentee clarified the meaning of "mating" within the context of the patent by linking it to the meaning of "matching." Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1576 (Fed. Cir.1995) (Arguments and amendments made during prosecution of a patent application must be examined to determine the meaning of terms in the claims.) Accordingly, the Court cannot find that this term is indefinite, and construes it in accordance with the prosecution history and specification to mean "matching."
Respective Parallel Loci and Said Correspondence Between Said First and Second Display Parts
Defendants contend that both "the respective parallel loci" and "said correspondence between said first and second display parts" are indefinite for lack of antecedent basis, therefore, the Court will analyze them together, beginning with "the respective parallel loci." The requirement of antecedent basis is a rule of patent drafting, administered during patent examination. Energizer Holdings, Inc. v. Int'l Trade Comm'n, 435 F.3d 1366, 1370 (Fed.Cir.2006). However, "the failure to provide explicit antecedent basis for terms does not always render a claim indefinite." Id. quoting Manual of Patent Examining Procedure § 2173.05(e) (8th ed. Rev.2, May, 2004). Indeed, antecedent basis can be present by implication. Slimfold Manufacturing Co. v. Kinkead Industries, Inc., 810 F.2d 1113, 1117 (Fed.Cir.1987). As with indefiniteness generally, the standard is "if the scope of a claim would be reasonably ascertainable by those skilled in the art, then the claim is not indefinite." Bose Corp. v. JBL, Inc., 274 F.3d 1354, 1359 (Fed.Cir.2001).
*738 In reading claims 13 and 14 together, the Court finds that a person skilled in the art would be able to ascertain the scope of the claims with reference to "the respective parallel loci." Id. Claims 11 and 13 provide at least implicit antecedent basis for claim 14. Claims 13 and 14 together provide:
13. Dance apparatus according to claim 11 wherein said first display parts comprise moving display parts which move along parallel loci, said second display parts comprising stationary display parts disposed within respective corresponding loci, said control section of said guidance unit effecting mating of said moving display parts with corresponding stationary display parts in timed relationship with said rhythmic piece.
14. Dance apparatus according to claim
13 wherein said moving display parts move along the respective parallel loci in spaced array such that the player views the spaced moving display parts prior to the occurrence of said mating whereby the player thereby anticipates the timing for actuating said actuatable parts (emphasis added).
Defendants argue that "the respective parallel loci" lacks antecedent basis because there is no prior term "respective parallel loci," but Konami contends that "parallel loci" provides antecedent basis for this term. When claims 13 and 14 are read together, it is certainly ascertainable that "parallel loci," "respective corresponding loci," and "the respective parallel loci" all contemplate the same parallel tracks along which "first display parts" move until "effective mating" is achieved with the stationary "second display parts." The fact that "the respective parallel loci" finds no explicit antecedent basis in "parallel loci" is insufficient, in light of the surrounding claim language, to render this term indefinite. Accordingly, the Court finds that "the respective parallel loci" in claim 14 finds antecedent basis in claim 13.
Similarly, the Court finds that "said correspondence between said first and second display parts" is not indefinite. The Court agrees with Konami that this language from claim 25 finds antecedent basis in claim 22. These claims provide in relevant part:
22. Dance apparatus for use by a player comprising:
Said guidance unit including a control section for controlling said relative movement to display a matching relationship between said first and second display parts in synchronism with said ordered flow of signals to thereby provide a display directing the person to effect actuation of said actuateable parts by the person's feet in synchronism with said ordered flow of signals.
25. Dance apparatus according to claim 22 wherein said correspondence between said first and second display parts occurs in time relationship with said ordered flow of signals (emphasis added)."
Although it is true that "matching relationship" does not provide explicit antecedent basis for "said correspondence between said first and second display parts," the Court cannot say that this "claim is insolubly ambiguous." Exxon Research &amp; Eng'g Co. v. United States, 265 F.3d 1371, 1375 (Fed.Cir.2001). The only relationship between the "first display parts" and "second display parts" described in claim 22 is a "matching relationship." Therefore, when dependent claim 25 refers to "said correspondence between said first and second display parts," it is clear that "said first and second display parts" refer to "first and second display parts" in claim 22 and one skilled in the art would have little choice but to conclude, despite the difference in terms, that "said correspondence" refers to "matching relationship." Accordingly, *739 the Court cannot find that "said correspondence between said first and second display parts" is not indefinite.

Conclusion
For the foregoing reasons, the Court interprets the claim language in this case in the manner set forth above. For ease of reference, the Court's claim interpretations are set forth in a table attached to this opinion.
So ORDERED and SIGNED this 4th day of August, 2006.

CLAIM CONSTRUCTION CHART PURSUANT TO LOCAL RULE P.R. 4-5(d)
A. Agreed Claim Terms
----------------------------------------------------------------------------------------------------------------------------
Agreed Claim Terms                     Plaintiff's Proposed     Defendant's Proposed     Court's Construction
                                       Construction             Construction
----------------------------------------------------------------------------------------------------------------------------
Action Instructions                    [Agreed]                 [Agreed]                 Indication to the player for
                                                                                         an immediate act or movement
----------------------------------------------------------------------------------------------------------------------------
Actuateable Parts                      [Agreed]                 [Agreed]                 Components responsive to
                                                                                         an action
----------------------------------------------------------------------------------------------------------------------------
Actuation Instructions                 [Agreed]                 [Agreed]                 Indication to the player to
                                                                                         take certain action
----------------------------------------------------------------------------------------------------------------------------
Anticipatory Instructions              [Agreed]                 [Agreed]                 Indication to the player that
                                                                                         the time for certain action is
                                                                                         approaching
----------------------------------------------------------------------------------------------------------------------------
Comparison Unit                        [Agreed]                 [Agreed]                 Unit capable of identifying
                                                                                         similarities or differences
----------------------------------------------------------------------------------------------------------------------------
Control Section                        [Agreed]                 [Agreed]                 A functional component of
                                                                                         the guidance unit
----------------------------------------------------------------------------------------------------------------------------
Dance                                  [Agreed]                 [Agreed]                 Move to a rhythmic piece,
                                                                                         pattern or beat
----------------------------------------------------------------------------------------------------------------------------
Directed Time                          [Agreed]                 [Agreed]                 The specified moment when
                                                                                         an event or act is instructed
                                                                                         to occur
----------------------------------------------------------------------------------------------------------------------------
Display Screen Parts                   [Agreed]                 [Agreed]                 Viewable elements on a
                                                                                         display screen
----------------------------------------------------------------------------------------------------------------------------
Display Parts                          [Agreed]                 [Agreed]                 Viewable elements on a
                                                                                         display
----------------------------------------------------------------------------------------------------------------------------
Display Unit                           [Agreed]                 [Agreed]                 Unit capable of presenting
                                                                                         visual output
----------------------------------------------------------------------------------------------------------------------------
Evaluation Unit                        [Agreed]                 [Agreed]                 Unit capable of analyzing
----------------------------------------------------------------------------------------------------------------------------
Guidance Unit                          [Agreed]                 [Agreed]                 Unit capable of presenting
                                                                                         instructions or directions
----------------------------------------------------------------------------------------------------------------------------
In Sequence                            [Agreed]                 [Agreed]                 One after another
----------------------------------------------------------------------------------------------------------------------------
In Spaced Array                        [Agreed]                 [Agreed]                 Visually presented with
                                                                                         space between them
----------------------------------------------------------------------------------------------------------------------------
In Synchronism                         [Agreed]                 [Agreed]                 Having a temporal coincidence
----------------------------------------------------------------------------------------------------------------------------
Instruction Signals                    [Agreed]                 [Agreed]                 Output signals directing
                                                                                         certain conduct
----------------------------------------------------------------------------------------------------------------------------
*740
----------------------------------------------------------------------------------------------------------------------------
Loci                                   [Agreed]                 [Agreed]                 Sets of all points whose
                                                                                         locations are determined by
                                                                                         stated conditions
----------------------------------------------------------------------------------------------------------------------------
Moving Said Person's                   [Agreed]                 [Agreed]                 Moving said person's feet in
Feet In Rhythmic With                                                                    rhythm with said rhythmic
Said Rhythmic Piece                                                                      piece
[claim 28]
----------------------------------------------------------------------------------------------------------------------------
Ordered Flow of Signals                [Agreed]                 [Agreed]                 A prescribed or systematic
                                                                                         sequence of impulse, sound,
                                                                                         image, or message
----------------------------------------------------------------------------------------------------------------------------
Output Device                          [Agreed]                 [Agreed]                 An apparatus for signaling
                                                                                         an output
----------------------------------------------------------------------------------------------------------------------------
Parallel                               [Agreed]                 [Agreed]                 Non-intersecting
----------------------------------------------------------------------------------------------------------------------------
Progressively Diminishing              [Agreed]                 [Agreed]                 Advancing toward the
Time                                                                                     expiration of an express or
                                                                                         implied time limit
----------------------------------------------------------------------------------------------------------------------------
Recognizable With [claim               [Agreed]                 [Agreed]                 Recognizable relationship
23]                                                                                      with
----------------------------------------------------------------------------------------------------------------------------
Rhythmic Piece                         [Agreed]                 [Agreed]                 A work that includes a sound
                                                                                         pattern or beat
----------------------------------------------------------------------------------------------------------------------------
Stationary Display Parts               [Agreed]                 [Agreed]                 Display parts that do not
                                                                                         move
----------------------------------------------------------------------------------------------------------------------------
Timed Relationship                     [Agreed]                 [Agreed]                 Corresponding in time
----------------------------------------------------------------------------------------------------------------------------
Visual Display Represen-               [Agreed]                 [Agreed]                 A visual presentation bear-
tative of said Rhythmic                                                                  ing some relationship to a
Piece                                                                                    designated work that includes
                                                                                         a sound pattern or
                                                                                         beat
--------------------------------------------------------------------------------------------------------------------------------------
B. Disputed Claim Terms
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835
Claims 1-10 (not asserted)
--------------------------------------------------------------------------------------------------------------------------------------
Not asserted.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed                  Defendants' Proposed          Court's Construction
Claim 11 (claim terms)                Construction                       Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus for use                Dance apparatus: No                Dance apparatus: a self-      No construction necessary
by a player comprising:                construction necessary             contained piece of equip-
                                                                          ment, comprising certain
                                                                          components, for directing
                                                                          and monitoring movement
--------------------------------------------------------------------------------------------------------------------------------------
an output device for out-               Output device for output-          Output device for output-      No construction necessary
putting rhythmic piece;                ting a rhythmic piece: No          ting a rhythmic piece; A
                                       construction necessary in          loudspeaker. (Mad Catz)
                                       view of construction of
                                       "output device" (see Agreed
                                       Terms)
--------------------------------------------------------------------------------------------------------------------------------------
a plurality of actuateable
parts for actuation by a
player's feet
--------------------------------------------------------------------------------------------------------------------------------------
a display unit displaying              Recognizable relationship:         Recognizable relationship:    No construction necessary
first and second display               having a correspondence            visually apparent associa
parts, said first display              such that one can be identi-       tion
*741
--------------------------------------------------------------------------------------------------------------------------------------
parts having a recogniz-               fied with another
able relationship with cor-
responding actuateable
parts;
--------------------------------------------------------------------------------------------------------------------------------------
a guidance unit effecting              Relative movement:                 Relative movement: No         No construction necessary
display of relative move-              Continuous movement of             Construction Needed.
ment between said first                one thing with reference to        (Roxor/RedOctane)
and second display parts;              another
                                                                          Relative movement:
                                                                          movement of one thing with
                                                                          reference to another (Mad
                                                                          Catz)
--------------------------------------------------------------------------------------------------------------------------------------
said guidance unit including           Matching relationship:             Matching relationship: a      No construction necessary
a control section for con-             having a correspondence            corresponding association
trolling said relative move-           when one overlaps another
ment to display a match-
ing relationship between
said first and second dis-
play parts in timed rela-
tionship with said rhythmic
piece to thereby direct the
player to actuate said actu-
ateable parts with the play-
er's feet in timed relation-
ship with the displayed
matching relationship be-
tween the first and second
display parts and thereby
in timed relationship with
said rhythmic piece such
that the player is thereby
directed to dance in rhythm
with said rhythmic piece.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 12 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 11 wherein said           Claim 11                      Claim 11
second display parts have a
recognizable relationship
with corresponding first
display parts.
                                       Recognizable relationship:    Recognizable relationship:         No construction necessary
                                       See Claim 11.                 See Claim 11.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 13 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 11 wherein said           Claim 11                      Claim 11
first display parts comprise
moving display parts which
move along parallel loci,
said second display parts
comprising stationary display
parts disposed within
respective corresponding
loci, said control section of
said guidance unit effecting
mating of said moving display
parts with corresponding
stationary display parts
*742
in timed relationship with
said rhythmic piece.
                                       Effecting mating:             Effecting mating:                  DEFINITE. The Court
                                        DEFINITE                      INDEFINITE                        construes "matching" to
                                                                                                        mean "mating".
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 14 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 13 wherein said           Claim 11                      Claim 11
moving display parts move
along the respective paral-
lel loci in spaced array
such that the player views
the spaced moving display
parts prior to the occur-
rence of said mating
whereby the player thereby
anticipates the timing for
actuating said actuateable
parts.
                                       The respective parallel       The respective parallel            DEFINITE
                                       loci: DEFINITE in view        loci: Lacks antecedent ba
                                       of claims 11, 13 and 14       sis and thus is indefinite.
                                        Mating: See Claim 13.        Mating: See Claim 13.              DEFINITEThe Court
                                                                                                        construes this term to mean
                                                                                                        "matching".
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 15 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord                 Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 13 wherein said           Claim 11                      Claim 11
moving display parts move
along the respective paral-
lel loci in sequence such
that the player views the
moving display parts prior
to the occurrence of said
mating and thereby antici-
pates the sequence for ac-
tuating said actuateable
parts.
                                       The respective parallel       The respective parallel            DEFINITE
                                       loci: DEFINITE in view        loci: Lacks antecedent ba-
                                       of claims 11, 13 and 15       sis and thus is indefinite.
                                       Mating: See Claim 13.         Mating: See Claim 13.              DEFINITEThe Court
                                                                                                        construes this term to mean
                                                                                                        "matching".
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835
Claim 16 (claim terms)
--------------------------------------------------------------------------------------------------------------------------------------
Not asserted.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 17 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 11 comprising             Claim 11                      Claim 11
*743
an evaluation unit evaluat-
ing the player's perform-
ance by comparing the tim-
ing of the correspondence
of the first and second dis-
play parts and the timing
that the player actuates
said actuateable parts.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 18 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus for use                Dance apparatus: See          Dance apparatus: See               No construction necessary
by a player comprising:                Claim 11                      Claim 11
--------------------------------------------------------------------------------------------------------------------------------------
an output device for out-              Output device for output-     Output device for output-          No construction necessary
putting a rhythmic piece;              tiny a rhythmic piece: See    tiny a rhythmic piece: See
                                       Claim 11                      Claim 11
--------------------------------------------------------------------------------------------------------------------------------------
a plurality of actuateable
parts for actuation by a
player's feet; and
--------------------------------------------------------------------------------------------------------------------------------------
a display unit displaying actuation
instructions to the
player in timed relationship
with the rhythmic piece,
said actuation instructions
including an anticipatory
instruction phase and an
action instruction phase,
--------------------------------------------------------------------------------------------------------------------------------------
said action instruction
phase displaying instructions
to the player indicating
the time that the player
is to actuate the actuateable
parts in timed relationship
with the output of said
rhythmic piece such that
the player is thereby directed
to move the player's
feet in timed relationship
with the output of the
rhythmic piece.
--------------------------------------------------------------------------------------------------------------------------------------
said anticipatory instruction
phase being displayed prior
to display of said action instruction
phase such that
the player
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 19 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 18 wherein said           Claim 11                      Claim 11
anticipatory instruction
phase provides a display
representing progressively
diminishing time remaining
prior to display of said ac-
tion instruction phase.
*744
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 20 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 18 wherein said           Claim 11 Claim 11
action instruction phase
outputs timed instruction
signals in timed relation-
ship with said rhythmic
piece, said actuateable
parts outputting actuation
signals when actuated by
the player's feet, and an
evaluation unit receiving
said instruction signals did
said actuation signals and
providing an evaluation of
the player's performance
based on deviation between
said instruction signals and
said actuation signals.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 21 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 20 wherein said           Claim 11                      Claim 11
evaluation unit provides an
evaluation of the player's
performance based on the
time difference between the
instruction signals and the
actuation signals.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 22 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus for use                Dance apparatus: See          Dance apparatus: See               No construction necessary
by a player comprising:                Claim 11                      Claim 11
--------------------------------------------------------------------------------------------------------------------------------------
an output device for outputting
an ordered flow of
signals;
--------------------------------------------------------------------------------------------------------------------------------------
a plurality of actuateable
parts for actuation by a
person's feet; and
--------------------------------------------------------------------------------------------------------------------------------------
a display unit displaying              Recognizable relationship:    Recognizable relationship:         No construction necessary
first and second display               See Claim 11.                 See Claim 11.
parts, said first display
parts having a recognizable
relationship with corresponding
actuateable
parts; and
--------------------------------------------------------------------------------------------------------------------------------------
a guidance unit effecting              Relative movement: See        Relative movement: See             No construction necessary
display of relative move-              Claim 11.                     Claim 11.
ment between said first
and second display parts;
--------------------------------------------------------------------------------------------------------------------------------------
said guidance unit including           Relative movement: See        Relative movement: See             No construction necessary
a control section for con-             Claim 11.                     Claim 11.
*745
trolling said relative move-
ment to display a match-
ing relationship between
said first and second dis-
play parts in synchronism
with said ordered flow of
signals to thereby provide a
display directing the person
to effect actuation of said
actuateable parts by the
person's feet in synchron-
ism with said ordered flow
of signals.
--------------------------------------------------------------------------------------------------------------------------------------
                                       Matching relationship:        Matching relationship:             No construction necessary
                                       See Claim 11.                 See Claim 11.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 23 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 22 wherein said           Claim 11.                     Claim 11.
second display parts have a
recognizable with corre-
sponding first display parts.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 23 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 22 wherein                Claim 11.                     Claim 11.
said correspondence be-
tween said first and sec-
ond display parts occurs in
timed relationship with said
ordered flow of signals.
                                       Said correspondence be-       Said correspondence be-            DEFINITE
                                       tween said first and sec-     tween said first and sec-
                                       ond display parts: Defi-      ond display parts: Lacks
                                       nite&amp;;antecedent basis is     antecedent basis and is
                                       provided in view of claim 22  thus indefinite.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 26 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
Dance apparatus accord-                Dance apparatus: See          Dance apparatus: See               No construction necessary
ing to claim 22 comprising a           Claim 11.                     Claim 11.
comparison unit comparing
the timing of the correspon-
dence of the first and se-
cond display parts and the
timing that the' person's
feet actuate said actuatea-
ble parts.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835
Claim 27 (claim terms)
Not asserted.
--------------------------------------------------------------------------------------------------------------------------------------
*746
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 28 (claim terms)                 Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method for directing a
person to dance comprising:
--------------------------------------------------------------------------------------------------------------------------------------
outputting rhythmic piece;
--------------------------------------------------------------------------------------------------------------------------------------
providing a plurality of actuateable
parts for actuation
by a person's feet;
--------------------------------------------------------------------------------------------------------------------------------------
displaying first and second            Recognizable relationship:    Recognizable relationship:         No construction necessary
display parts, said first dis-         See Claim 11.                 See Claim 11.
play parts having a recog-
nizable relationship with
corresponding actuateable
parts;
--------------------------------------------------------------------------------------------------------------------------------------
displaying relative move-              Relative movement: See        Relative movement: See             No construction necessary
ment between said first                Claim 11.                     Claim 11.
and second display parts;
--------------------------------------------------------------------------------------------------------------------------------------
controlling said relative              Relative movement: See        Relative movement: See             No construction necessary
movement to display a                  Claim 11.                     Claim 11.
matching relationship be-
tween said first and second
display parts in timed rela-
tionship with said rhythmic
piece to thereby provide a
visual display representa-
tive of said rhythmic piece;
and
                                       Matching relationship:        Matching relationship:             No construction necessary
                                       See Claim 11.                 See Claim 11.
--------------------------------------------------------------------------------------------------------------------------------------
directing said person to
dance by moving said per-
son's feet in rhythmic with
said rhythmic piece by
viewing said visual display.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 29 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to                  Recognizable relationship:    Recognizable relationship:         No construction necessary
claim 28 wherein said sec-             See Claim 11                  See Claim 11
ond display parts have a
recognizable relationship
with corresponding first
display parts.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 30 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 28 wherein said di-
recting step directs the per-
son to actuate said actuate-
able parts with the person's
*747
feet in timed relationship
with the displayed corre-
spondence between the first
and second display parts
and thereby' in timed rela-
tionship with said rhythmic
piece.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 31 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 28 wherein said step
of displaying said first
display parts comprises
moving said first display
parts along separate and
parallel loci.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 32 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to                  Scrolling: moving viewable    Scrolling: moving viewable         moving viewable elements
claim 28 wherein said step             elements from a first dis-    elements from a first dis-         from a first displayed loca-
of displaying said second              played location to a second   played location to a second        tion to a second displayed
display parts comprises                displayed location in a con   displayed location in a man-       location in a continuous
scrolling said                         tinuous manner                ner reflecting the path            manner
second display parts.                                                traveled
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 33 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to                  Mates: DEFINITE&amp;;See          Mates: Indefinite. See             DEFINITEThe court con-
claim 28 wherein said step             Claim 13.                     Claim 13.                          strues this term to mean
of displaying said first dis-                                                                           "matches".
play parts comprises dis-
playing said first display
parts as moving along sepa-
rate loci, said step of dis-
playing said second display
parts comprising displaying
said second display parts as
disposed in respective cor-
responding loci, said dis-
playing of correspondence
between said first and sec-
ond display parts occurring
when one first display part
moving along one locus
mates with a respective
corresponding second dis-
play part disposed along
said one locus.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 34 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method for directing a
person to dance comprising:
*748
providing a plurality of ac-
tuateable parts for actua-
tion by a person's feet;
--------------------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic-
piece;
--------------------------------------------------------------------------------------------------------------------------------------
displaying action instruc-
tions in timed relationship
with said rhythmic piece;
--------------------------------------------------------------------------------------------------------------------------------------
directing the person to
dance by actuating said
actuateable parts with the
person's feet in timed rela-
tionship with said rhythmic
piece; and
--------------------------------------------------------------------------------------------------------------------------------------
displaying anticipatory in-
structions prior to display
of said action instructions
such that the person there-
by anticipates the time to
actuate the actuateable
parts.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 35 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 34 wherein said dis-
playing of anticipatory
instructions displays pro-
gressively diminishing time
remaining to the display of
the corresponding action in-
structions.
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 36 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method for directing a
person to dance comprising:
--------------------------------------------------------------------------------------------------------------------------------------
outputting an ordered flow
of signals;
--------------------------------------------------------------------------------------------------------------------------------------
providing a plurality actu-
ateable parts for actuation
by a person's feet;
--------------------------------------------------------------------------------------------------------------------------------------
displaying first and second            Recognizable relationship:    Recognizable relationship:         No construction necessary
display parts, said first dis-         See Claim 11.                 See Claim 11.
play parts having a recog-
nizable relationship with
corresponding actuateable
parts;
--------------------------------------------------------------------------------------------------------------------------------------
displaying relative move-              Relative movement: See        Relative movement: See             No construction necessary
ment between said first                Claim 11.                     Claim 11.
and second display parts;
and
--------------------------------------------------------------------------------------------------------------------------------------
displaying a matching re-              Matching relationship:        Matching relationship:             No construction necessary
lationship between said                See Claim 11.                 See Claim 11.
first and second display
*749
parts in synchronism with
said, ordered flow of signals
to thereby provide a visual
display to direct the person
to dance by effecting actua-
tion of said actuateable
parts by said player's feet
in synchronism with said
ordered flow of signals.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 37 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to                  Recognizable relationship:    Recognizable relationship:         No construction necessary
claim 36 wherein said sec-             See Claim 11.                 Recognizable relationship:
ond display parts have a                                             See Claim 11.
recognizable relationship
with said first display parts.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835             Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 38 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 36 wherein said out-
putting of an ordered flow
of signals comprises output-
ting a rhythmic piece.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 39 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 36 comprising com-
paring deviation between
correspondence of the first
and second display part and
actuation of the actuateable
parts by the player's feet.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 40 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 36 wherein said step
of displaying correspon-
dence between said first
and second display parts in
synchronism with said or-
dered flow of signals com-
prises displaying corre-
spondence between said
first and second display
parts in timed relationship
with said ordered flow of
signals.
*750
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claim 41 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A method according to
claim 36 wherein said step
of displaying correspon-
dence between said first
and second display parts in
synchronism with said or-
dered flow of signals com-
prises displaying corre-
spondence between said
first and second display
parts in sequential relation-
ship with said ordered flow
of signals.
--------------------------------------------------------------------------------------------------------------------------------------
--------------------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed             Defendants' Proposed               Court's Construction
Claims 42 (claim terms)                Construction                  Construction
--------------------------------------------------------------------------------------------------------------------------------------
A dance game method
comprising:
--------------------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic
piece;
--------------------------------------------------------------------------------------------------------------------------------------
providing actuateable parts
for actuation by a game
player's feet;
--------------------------------------------------------------------------------------------------------------------------------------
providing a display unit;
--------------------------------------------------------------------------------------------------------------------------------------
displaying sequential and
timed instructions on said
display unit in timed rela-
tionship with the output of
said rhythmic piece;
--------------------------------------------------------------------------------------------------------------------------------------
directing the player to
dance by actuating the
actuateable parts with the
player's feet in sequence
and in timed relationship
with said display of sequen-
tial and timed instructions
on said display unit and
thereby in time with said
rhythmic piece;
--------------------------------------------------------------------------------------------------------------------------------------
said step of directing the             Recognizable relationship:    Recognizable relationship:         No construction necessary
player comprising display-             See Claim 11.                 See Claim 11.
ing on said display unit first
display parts having a rec-
ognizable relationship
with respective corresponding
actuateable parts, dis-
playing on said display unit
second display parts having
a recognizable relationship
with respective correspon-
ding first display parts,
effecting relative move-
ment between said first
and evaluating the player's
performance based on devi-
ation between the directed
time to actuate said actu-
ateable parts and the time
*751
-----------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 42 (claim terms)               Construction                   Construction
-----------------------------------------------------------------------------------------------------------------------
the game player's feet actuate
said actuateable parts.
                                     Relative movement: See         Relative movement: See         No construction necessary
                                     Claim 11.                      Claim 11.
                                     Matching relationship:         Matching relationship:         No construction necessary
                                     See Claim 11.                  See Claim 11.
-------------------------------------------------------------------------------------------------------------------------
-------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 43 (claim terms)               Construction                   Construction
-------------------------------------------------------------------------------------------------------------------------
A dance game method according        Mates: See Claim 13.           Mates: See Claim 13.           DEFINITEThe Court
to claim 42 wherein                                                                                construes this term to mean
said step of displaying said                                                                       "matches".
first display parts comprises
displaying said first display
parts as moving display
parts moving along
parallel loci; said step of
displaying said second display
parts comprising displaying
said second display
parts disposed along said
loci, said instructing step
comprising instructing the
game player to actuate said
actuateable parts when one
moving display part moving
along one locus mates with
one second displayed part
disposed in said one locus.
-------------------------------------------------------------------------------------------------------------------------
-------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 44 (claim terms)               Construction                   Construction
-------------------------------------------------------------------------------------------------------------------------
A dance game method according
to claim 42 wherein
said step of displaying said
moving display parts comprises
displaying said moving
display parts as moving
along the respective loci in
spaced array, said instructing
step including enabling
the game player to view the
spaced and moving display
parts prior to the occurrence
of said mating of
each moving display part
with its respective corresponding
second display
part, whereby the player
anticipates upcoming dance
steps.
-------------------------------------------------------------------------------------------------------------------------
-------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 45 (claim terms)               Construction                   Construction
-------------------------------------------------------------------------------------------------------------------------
A dance game method
comprising:
-------------------------------------------------------------------------------------------------------------------------
*752
-------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 45 (claim terms)               Construction                   Construction
-------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic
piece;
-------------------------------------------------------------------------------------------------------------------------
providing a plurality of
actuateable parts for
actuation by a player;
-------------------------------------------------------------------------------------------------------------------------
providing a display unit
having display screen parts;
-------------------------------------------------------------------------------------------------------------------------
displaying first display             Recognizable relationship:     Recognizable relationship:     No construction necessary
party on said display unit           See Claim 11.                  See Claim 11.
having a recognizable
relationship with corresponding
actuateable parts;
-------------------------------------------------------------------------------------------------------------------------
displaying relative movement         Relative movement: See         Relative movement: See         No construction necessary
between said first                   Claim 11.                      Claim 11.
display parts and said
display screen parts;
-------------------------------------------------------------------------------------------------------------------------
controlling said relative            Relative movement: See         Relative movement: See         No construction necessary
movement to display a                Claim 11.                      Claim 11.
matching relationship
between said first display
parts and said display
screen parts in timed relationship
with said rhythmic
piece to thereby provide a
visual display representative
of said rhythmic piece;
and
                                     Matching relationship:         Matching relationship:         No construction necessary
                                     See Claim 11.                  See Claim 11.
-------------------------------------------------------------------------------------------------------------------------
directing a player to dance
by effecting actuation of
said actuateable parts by
the player's feet in accordance
with said visual
display.
-------------------------------------------------------------------------------------------------------------------------
-------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed              Defendants' Proposed           Court's Construction
Claim 46 (claim terms)               Construction                   Construction
-------------------------------------------------------------------------------------------------------------------------
Dance apparatus for use              Dance apparatus: See           Dance apparatus: See           No construction necessary
by a player comprising:              Claim 11                       Claim 11
-------------------------------------------------------------------------------------------------------------------------
an output device for outputting      Output device for outputting   Output device for outputting   No construction necessary
putting a rhythmic piece;            a rhythmic piece: See          a rhythmic piece: See
                                     Claim 11                       Claim 11
-------------------------------------------------------------------------------------------------------------------------
a plurality of actuateable
parts for actuation by a
player's feet;
-------------------------------------------------------------------------------------------------------------------------
a display unit displaying            Recognizable relationship:     Recognizable relationship:     No construction necessary
first and second display             See Claim 11.                  See Claim 11.
parts, said first display
parts having a recognizable
relationship with corresponding
actuateable
parts; and
-------------------------------------------------------------------------------------------------------------------------
a guidance unit effecting            Relative movement: See         Relative movement: See         No construction necessary
display of relative movement         Claim 11.                      Claim 11.
between said first
and second display parts,
said guidance unit including
a control section for con
*753
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 46 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
trolling said relative movement
to display correspondence
between said first
and second display parts in
timed relationship with said
rhythmic piece to thereby
direct the player to actuate
said actuateable parts with
the player's feet in timed
relationship with the displayed
correspondence between
the. first and second
display parts and thereby
in timed relationship with
said rhythmic piece such
that the said first display
parts comprising
                                     Mating: See Claim 13.         Mating: See Claim 13.         DEFINITEThis Court
                                                                                                 construes this term to mean
                                                                                                 "matching".
---------------------------------------------------------------------------------------------------------------------------
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 47 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
Dance apparatus according            Dance apparatus: See          Dance apparatus: See          No construction necessary
to claim 46 wherein said             Claim 11                      Claim 11
moving display parts the
respective parallel loci in
spaced array such that the
player views the spaced
moving display parts prior
to the occurrence of said
mating whereby the player
thereby anticipates the timing
for actuating said actuateable
parts.
                                     Mating: See Claim 13.         Mating: See Claim 13.         DEFINITEThis Court
                                                                                                 construes this term to mean
                                                                                                 "matching".
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 48 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
A method for directing a
person to dance comprising:
---------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic
piece;
---------------------------------------------------------------------------------------------------------------------------
providing a plurality of
actuateable parts for
actuation by a person's
feet;
---------------------------------------------------------------------------------------------------------------------------
displaying first and second          Recognizable relationship:    Recognizable relationship:    No construction necessary
display parts, said first display    See Claim 11.                 See Claim 11.
parts having a recognizable
relationship with
corresponding actuateable
parts; said step of displaying
said first display parts
comprising moving said
first display parts along
separate and parallel loci;
---------------------------------------------------------------------------------------------------------------------------
*754
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 48 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
displaying relative movement         Relative movement: See        Relative movement: See        No construction necessary
between said first                   Claim 11.                     Claim 11.
and second display parts;
---------------------------------------------------------------------------------------------------------------------------
controlling said relative            Relative movement: See        Relative movement: See        No construction necessary
movement to display correspondence   Claim 11.                     Claim 11.
between said
first and second display
parts in timed relationship
with said rhythmic piece to
thereby provide a visual
display representative of
said rhythmic piece; and
---------------------------------------------------------------------------------------------------------------------------
directing said person to
dance by moving said person's
feet in rhythm with
said rhythmic piece by
viewing said visual display.
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 49 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
A method for directing a
person to dance comprising:
---------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic
piece;
---------------------------------------------------------------------------------------------------------------------------
providing a plurality of
actuateable parts for.
actuation by a person's
feet;
---------------------------------------------------------------------------------------------------------------------------
displaying first and second          Recognizable relationship:    Recognizable relationship:    No construction necessary
display parts, said first display    See Claim 11.                 See Claim 11.
parts having a recognizable
relationship with
corresponding actuateable
parts; said step of displaying
said first display parts
comprises displaying said
first display parts as moving
along separate loci, said
step of displaying said second
display parts comprising
displaying said second
display parts as disposed in
respective corresponding
loci;
---------------------------------------------------------------------------------------------------------------------------
displaying relative movement         Relative movement: See        Relative movement: See        No construction necessary
between said first                   Claim 11.                     Claim 11.
and second display parts;
---------------------------------------------------------------------------------------------------------------------------
controlling said relative            Relative movement: See        Relative movement: See        No construction necessary
movement to display corre            Claim 11.                     Claim 11.
spondence between said
first and second display
parts in timed relationship
with said rhythmic piece to
thereby provide a visual
display representative of
said rhythmic piece, said
displaying of correspondence
between said first
and second display parts
occurring when one first
part moving along one locus
mates with a respective
---------------------------------------------------------------------------------------------------------------------------
*755
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 49 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
corresponding second display
part disposed along
said one locus; and
                                     Mates: See Claim 13.          Mates: See Claim 13.          DEFINITEThis Court
                                                                                                 construes this term to mean
                                                                                                 "matches".
---------------------------------------------------------------------------------------------------------------------------
directing said person to
dance by moving said person's
feet in rhythm with
said rhythmic piece by
viewing said visual display.
---------------------------------------------------------------------------------------------------------------------------
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835            Konami's Proposed             Defendants' Proposed          Court's Construction
Claim 50 (claim terms)               Construction                  Construction
---------------------------------------------------------------------------------------------------------------------------
A dance game method
comprising:
---------------------------------------------------------------------------------------------------------------------------
outputting a rhythmic
piece;
---------------------------------------------------------------------------------------------------------------------------
providing actuateable parts
for actuation by a game
player's feet;
---------------------------------------------------------------------------------------------------------------------------
providing a display unit;
---------------------------------------------------------------------------------------------------------------------------
displaying sequential and
timed instructions on said
display unit in timed relationship
with the output of
said rhythmic piece;
---------------------------------------------------------------------------------------------------------------------------
directing the player to
dance by actuating the
actuateable parts with the
player's feet in sequence
and in timed relationship
with said display of sequential
and timed instructions
on said display unit and
thereby in time with said
rhythmic piece; and
---------------------------------------------------------------------------------------------------------------------------
said step of directing the           Recognizable relationship:    Recognizable relationship:    No construction necessary
player comprising displaying         See Claim 11.                 See Claim 11.
on said display unit first
display parts having a recognizable
relationship
with respective corresponding
actuateable parts, displaying
on said display unit
second display parts having
a recognizable relationship
with respective corresponding
first display parts,
effecting relative movement
between said first
and said step of displaying
said first display parts comprising
displaying said first
display parts as moving display
parts moving along
parallel loci, said step of
displaying said second display
parts comprising displaying
said second display
parts disposed along said
loci, said instructing step
*756
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed           Defendants' Proposed          Court's Construction
Claim 50 (claim terms)                 Construction                Construction
---------------------------------------------------------------------------------------------------------------------------
comprising instructing the
game player to actuate said
actuateable parts when one
moving display part moving
along one locus mates with
one second displayed part
disposed in said one locus;
                                       Relative movement: See      Relative movement: See        No construction necessary
                                       Claim 11.                   Claim 11.
                                       Matching relationship:      Matching relationship:        No construction necessary
                                       See Claim 11.               See Claim 11.
                                       Mates: See Claim 13.        Mates: See Claim 13.          DEFINITEThe Court
                                                                                                 construes this term to mean
                                                                                                 "matches".
---------------------------------------------------------------------------------------------------------------------------
evaluating the player's performance
based on deviation
between the directed
time to actuate said actuateable
parts and the time
the game player's feet actuates
said actuateable parts.
---------------------------------------------------------------------------------------------------------------------------
---------------------------------------------------------------------------------------------------------------------------
U.S. Patent No. 6,410,835              Konami's Proposed           Defendants' Proposed          Court's Construction
Claim 51 (claim terms)                 Construction                Construction
---------------------------------------------------------------------------------------------------------------------------
A dance game method according          Mating: See Claim 13.       Mating: See Claim 13.         DEFINITEThe Court
to claim 50 wherein                                                                              construes this term to mean
said step of displaying said                                                                     "matching".
moving display parts comprises
displaying said moving
display parts as moving
along the respective loci in
spaced array, said instructing
step including enabling
the game player to view the
spaced and moving display
parts prior to the occurrence
of said mating of
each moving display part
with its respective corresponding
second display
part, whereby the player
anticipates upcoming dance
steps.
---------------------------------------------------------------------------------------------------------------------------

NOTES
[1]  The parties agreed to construe this term to mean "moving said person's feet in rhythm with said rhythmic piece."
[2]  The parties agreed to construe this term to mean "recognizable relationship with."
[3]  Tactile or light signals would accommodate a hearing impaired player.
[4]  "Recognizable relationship" also describes this relationship in claims 22, 28, 36, 42, 45, 46, 48, 49, and 50, but claim 11 is a fair exemplar of how "recognizable relationship" is used in those claims.
[5]  "Recognizable relationship" also describes this relationship in claims 27, 29, and 37, but claim 12 is' a fair exemplar of how "recognizable relationship" is used in those claims.
[6]  The surrounding language in claim 11 reads "a plurality of actuateable parts for actuation by a player's feet; a display unit displaying first and second display parts, said first display parts having a recognizable relationship with corresponding actuateable parts." Claim 12 depends from claim 11 and reads, "[d]ance apparatus according to claim 11 wherein said second display parts have a recognizable relationship with corresponding first display parts."
[7]  The Court declines to consider "a corresponding relationship" because it is both unhelpful and impermissible. It is unhelpful in the sense that it merely restates "relationship," and impermissible in the sense that it seeks to substitute "corresponding" for "matching," which would unjustifiably broaden the meaning of "matching."
[8]  This language was taken from claim 11, but "matching relationship" takes on the same meaning and is used in similar contexts in claims 22, 28, 36, 42, and 45. Therefore, the Court may fairly use claim 11 as an exemplar.
[9]  Inserting "overlaps" into the construction could also create confusion as the question will certainly arise, "what does `overlap' mean?" The Court is not inclined to adopt a construction that runs the risk of creating such confusion by, in essence, using a term that begs its own construction.
[10]  The Court finds that "movement of one thing with reference to another" is not helpful because it merely confirms the ordinary meaning of "relative movement." Thus, the Court will focus on Konami's "continuous" limitation, and on whether "relative movement" should be construed at all.
[11]  "Relative movement" appears in claims 11, 22, 28, 36, 42, 46, 48, 49, and 50, but once again, the Court will use claim 11 as an exemplar.

